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 8                            UNITED STATES DISTRICT COURT
 9                         SOUTHERN DISTRICT OF CALIFORNIA
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11    MARIA HERNANDEZ, et al.,                           Case No.: 3:19-cv-1636-AJB-AHG
12                                     Plaintiffs,       SCHEDULING ORDER:
13    v.
                                                         (1) SETTING DISCOVERY
14    SOUTHWEST KEY PROGRAMS, INC.,                      DEADLINES AND CLASS
      et al.,                                            CERTIFICATION MOTION
15
                                    Defendants.          DEADLINE; and
16
                                                         (2) SETTING DEADLINE TO FILE
17
                                                         JOINT STATUS REPORT
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19         Pursuant to Rule 16.1(d) of the Local Rules, the Court held a Case Management
20   Conference in this matter on October 30, 2019. After consulting with counsel and being
21   advised of the status of the case, the Court ORDERS as follows:
22         1. Any motion to join other parties, amend the pleadings, or file additional pleadings
23            shall be filed by December 2, 2019.
24         2. Fact and class discovery are not bifurcated, but class discovery must be
25            completed by February 28, 2020. “Completed” means that all discovery requests
26            governed by Rules 30-36 of the Federal Rules of Civil Procedure, and discovery
27            subpoenas under Rule 45, must be propounded sufficiently in advance of the
28            discovery cut-off date so that they may be completed by that date, taking into

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 1            account the time permitted in the Rules for service, notice, and responses. If any
 2            discovery disputes arise, counsel must meet and confer promptly and in good
 3            faith in compliance with Local Rule 26.1(a). A failure to comply in this
 4            regard will result in a waiver of a party’s discovery issue. Absent an order
 5            of the court, no stipulation continuing or altering this requirement will be
 6            recognized by the Court. The Court expects counsel to make every effort to
 7            resolve all disputes without court intervention through the meet-and-confer
 8            process. If the parties reach an impasse on any discovery issue, the movant must
 9            email chambers at efile_goddard@casd.uscourts.gov no later than 45 days after
10            the date of service of the written discovery response that is in dispute, seeking a
11            telephonic conference with the Court to discuss the discovery dispute. The email
12            must include: (1) at least three proposed times mutually agreed upon by the
13            parties for the telephonic conference; (2) a neutral statement of the dispute; and
14            (3) one sentence describing (not arguing) each parties’ position. The movant
15            must copy opposing counsel on the email. No discovery motion may be filed until
16            the Court has conducted its pre-motion telephonic conference, unless the movant
17            has obtained leave of Court. All parties are ordered to read and to fully
18            comply with the Chambers Rules of Magistrate Judge Allison H. Goddard,
19            which can be found at:
20            https://www.casd.uscourts.gov/judges/goddard/docs/Goddard%20Civil%20Pret
21            rial%20Procedures.pdf.
22         3. Plaintiffs must file a motion for class certification by March 30, 2020.
23            Defendants’ Response is due by April 27, 2020. Plaintiffs’ Reply is due by
24            May 11, 2020.
25         4. The parties must lodge by email at efile_goddard@casd.uscourts.gov a Joint
26            Status Report by November 13, 2019 affirming that counsel for both sides have
27            met and conferred in compliance with Judge Goddard’s Checklist for Rule 26(f)
28            Meet and Confer Regarding Electronically Stored Information (“ESI”), which

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 1            can be found at:
 2            https://www.casd.uscourts.gov/judges/goddard/docs/Goddard%20Electronically
 3            %20Stored%20Information%20Checklist.pdf. The purpose of requiring the
 4            parties to comply with the ESI Checklist is so that (1) Defendants understand
 5            what ESI they must maintain and preserve for this litigation, and (2) Plaintiffs
 6            understand where and how such information is stored, and whether it is readily
 7            accessible, in order to propound proportional and relevant discovery requests.
 8            The Court expects the parties to gear their Joint Status Report towards this dual
 9            purpose. To that end, the Joint Status Report must certify that Defendant has
10            informed Plaintiff where and how Defendant retains electronically stored
11            information regarding:
12               a. the identities of class members;
13               b. the general background check process at issue in this case; and
14               c. the specific background checks performed on the individual class
15                  members.
16               The parties may, but need not, file the Joint Status Report in addition to
17         lodging it by email.
18         IT IS SO ORDERED.
19   Dated: October 31, 2019
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